Edward J. Maney, Esq.#012256
CHAPTER 13 TRUSTEE
P.O. Box 10434
Phoenix, Arizona 85064
(602) 277-3776
ejm@maney13trustee.com


                           UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF ARIZONA


In re: MARIA ISABEL AGUIRRE                   §      Case No. 10-17943
                                              §
                                              §
              Debtors                         §
          CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT


Edward J. Maney, chapter 13 trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C § 1302(b)(1). The trustee declares as follows:

       1) The case was filed on 06/09/2010.

       2) The plan was confirmed on NA.

       3) The plan was modified by order after confirmation pursuant to 11 U.S.C § 1329 on
          NA.

       4) The trustee filed action to remedy default by the debtor in performance under the plan
          on NA.

       5) The case was dismissed on 07/11/2011.

       6) Number of months from filing or conversion to last payment: 14.

       7) Number of months case was pending: 18.

       8) Total value of assets abandoned by court order: NA.

       9) Total value of assets exempted: $262,275.00.

       10) Amount of unsecured claims discharged without full payment: $0.00.

       11) All checks distributed by the trustee relating to this case have cleared the bank.




UST Form 101-13-FR-S (9/1/2009)




Case 2:10-bk-17943-RJH            Doc 34   Filed 12/16/11   Entered 12/16/11 10:29:37           Desc
                                              Page 1 of 4
Receipts:
       Total paid by or on behalf of the debtor                        $ 6,496.93
       Less amount refunded to debtor                                       $ 0.00
NET RECEIPTS                                                                              $ 6,496.93



Expenses of Administration:

        Attorney's Fees Paid Through the Plan                          $ 3,439.31
        Court Costs                                                         $ 0.00
        Trustee Expenses & Compensation                                  $ 327.62
        Other                                                               $ 0.00

TOTAL EXPENSES OF ADMINISTRATION                                                          $ 3,766.93

Attorney fees paid and disclosed by debtor:                            $ 1,000.00



Scheduled Creditors:
Creditor                                                Claim         Claim       Claim   Principal      Interest
Name                                     Class      Scheduled      Asserted    Allowed        Paid          Paid
Office of the Arizona Attorney General   Pri             0.00         83.00       83.00       0.00          0.00
Internal Revenue Services                Pri             0.00      6,597.44    6,597.44       0.00          0.00
WELLS FARGO DEALER SERVICES,             Sec        31,653.00     21,000.00   21,000.00   1,843.47        886.53
WELLS FARGO DEALER SERVICES,             Uns             0.00      9,701.85    9,701.85       0.00          0.00
Generic Creditor                         Sec         4,154.00           NA          NA        0.00          0.00
Generic Creditor                         Uns             0.00           NA          NA        0.00          0.00
Generic Creditor                         Sec         3,839.00           NA          NA        0.00          0.00
Generic Creditor                         Uns             0.00           NA          NA        0.00          0.00
General Unsecured                        Uns       148,908.00           NA          NA        0.00          0.00
Office of the Arizona Attorney General   Pri             0.00        108.15      108.15       0.00          0.00
Anthony W. Clark, Esq.                   Lgl         1,000.00      1,000.00    1,000.00       0.00          0.00
Anthony W. Clark, Esq.                   Lgl         5,000.00      5,000.00    5,000.00   3,439.31          0.00




UST Form 101-13-FR-S (9/1/2009)




Case 2:10-bk-17943-RJH            Doc 34         Filed 12/16/11     Entered 12/16/11 10:29:37         Desc
                                                    Page 2 of 4
Summary of Disbursements to Creditors:

                                              Claim          Principal     Interest
                                              Allowed        Paid          Paid
Secured Payments:
       Mortgage Ongoing                             $ 0.00        $ 0.00       $ 0.00
       Mortgage Arrearage                           $ 0.00        $ 0.00       $ 0.00
       Debt Secured by Vehicle                $ 21,000.00    $ 1,843.47     $ 886.53
       All Other Secured                       $ 1,700.00         $ 0.00       $ 0.00
TOTAL SECURED:                                $ 22,700.00    $ 1,843.47     $ 886.53

Priority Unsecured Payments:
        Domestic Support Arrearage                  $ 0.00       $ 0.00        $ 0.00
        Domestic Support Ongoing                    $ 0.00       $ 0.00        $ 0.00
        All Other Priority                     $ 6,788.59        $ 0.00        $ 0.00
TOTAL PRIORITY:                                $ 6,788.59        $ 0.00        $ 0.00

GENERAL UNSECURED PAYMENTS:                    $ 9,701.85        $ 0.00        $ 0.00



Disbursements:

       Expenses of Administration              $ 3,766.93
       Disbursements to Creditors              $ 2,730.00

TOTAL DISBURSEMENTS:                                                 $ 6,496.93




UST Form 101-13-FR-S (9/1/2009)




Case 2:10-bk-17943-RJH            Doc 34   Filed 12/16/11    Entered 12/16/11 10:29:37   Desc
                                              Page 3 of 4
        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed. The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.




                                           Edward J.                Digitally signed by Edward J. Maney, Esq.
                                                                    DN: cn=Edward J. Maney, Esq., o=Edward
                                                                    J. Maney, Chapter 13 Trustee, ou,


                                        By:Maney, Esq.
                                                                    email=ejm@maney13trustee.com, c=US
                                                                    Date: 2011.12.15 13:21:24 -07'00'
Date: 12/15/2011
                                                  Trustee

STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




UST Form 101-13-FR-S (9/1/2009)




Case 2:10-bk-17943-RJH            Doc 34   Filed 12/16/11      Entered 12/16/11 10:29:37                        Desc
                                              Page 4 of 4
